                CASE 0:19-cv-02580-KMM-LIB Doc. 108 Filed 08/27/22 Page 1 of 6




                                       UNITED STATES DISTRICT COURT
                                          DISTRICT OF MINNESOTA


_Del Shea Perry____________________
                        Plaintiff(s),

v.                                                         Case No. 19-cv-02580 (KMM/LIB)



_Beltrami County, et al., _______________

_______________________________

_______________________________

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_______________________________
                    Defendant(s).


                                 JOINT MOTION REGARDING CONTINUED SEALING

Documents have been filed under temporary seal in connection with the following motion:


            (Motion Title)                                                              (Doc. No.)
       Motion for Summary Judgment                                                        74
       Motion for Partial Summary Judgment                                                82

Pursuant to LR 5.6, the parties submit this Joint Motion Regarding Continued Sealing.



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                                  CASE 0:19-cv-02580-KMM-LIB Doc. 108 Filed 08/27/22 Page 2 of 6




        DKT. NO.        DESCRIPTION OF DOCUMENT              PRECISELY IDENTIFY:                NONPARTY     REASON WHY DOCUMENT SHOULD
DKT.        OF                                     a) The information that the parties             THAT      REMAIN SEALED OR BE UNSEALEDi
NO.    REDACTED                                    agree should remain sealed;                 DESIGNATED
        VERSION                                    b) The information the parties agree            DOC.
        (IF FILED)                                 should be unsealed; and                    CONFIDENTIAL
                                                   c) The information about which the            (IF ANY)
                                                     parties disagree.
90     91            Memorandum of Law            Parties agree that entire document should                  Document should remain sealed
                                                              remain under seal                              because it contains confidential
                                                                                                             information subject to this Court’s
                                                                                                             protective order.

93                   Exhibit                      Parties agree that entire document should                  Document should remain sealed
                                                              remain under seal                              because it contains confidential
                                                                                                             information subject to this Court’s
                                                                                                             protective order.

94                   Exhibit                      Parties agree that entire document should                  Document should remain sealed
                                                              remain under seal                              because it contains confidential
                                                                                                             information subject to this Court’s
                                                                                                             protective order.




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                                         CASE 0:19-cv-02580-KMM-LIB Doc. 108 Filed 08/27/22 Page 3 of 6




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    This explanation should be very brief. For example:

       1.    contains information designated as confidential by a nonparty
       2.    contains information designated as confidential under a non-disclosure agreement between plaintiff and nonparty
       3.    discovery materials filed in connection with a motion under Fed R. Civ. P. 37
       4.    reveals trade secrets of defendant
       5.    reveals proprietary business methods of plaintiff
       6.    confidential financial records
       7.    confidential medical records
       8.    contains termination information regarding former employees of defendant
       9.    reveals information regarding a minor
       10.   contains information ordered sealed by the court on DATE [Docket No. XX]




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                         CASE 0:19-cv-02580-KMM-LIB Doc. 108 Filed 08/27/22 Page 4 of 6




                                      IVERSON REUVERS

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                                      Marlon Smith, Jacob Swiggum, Joseph Williams




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                        CASE 0:19-cv-02580-KMM-LIB Doc. 108 Filed 08/27/22 Page 5 of 6




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                         CASE 0:19-cv-02580-KMM-LIB Doc. 108 Filed 08/27/22 Page 6 of 6




Dated: August 26, 2022               By: s/ Zorislav R. Leyderman
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